
978 A.2d 222 (2009)
410 Md. 127
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Thomas KLEIN, Respondent.
Misc. Docket AG, No. 17 September Term, 2009.
Court of Appeals of Maryland.
August 20, 2009.

ORDER
This matter came before the Court on the Joint Petition for Placement on Inactive Status. Upon consideration of said petition, it is this 20th day of August, 2009,
ORDERED, that the Respondent, Thomas Klein, be and he is hereby placed on inactive status until further Order of this Court, and it is further
ORDERED, that the Clerk of this Court shall remove the name of Thomas Klein from the register of attorneys in this Court until further Order of this Court and shall certify that fact to the Client Protection Fund and the clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-772(d).
